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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                        IN THE UNITED STATES DISTRICT COURT                              March 14, 2022
                        FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

Rochelle Sims, individually,                    §
and on behalf of all others                     §
similarly situated,                             §
                       Plaintiff,               §
                                                §
VS.                                             §           CIVIL ACTION NO. H-21-4225
                                                §
Memorial Hermann Health System, and             §
John Does 1-10,                                 §
                  Defendants.                   §

                                            ORDER

       The plaintiff moved to stay the briefing on the defendants’ motion to dismiss to allow her

to file an amended complaint. (Docket Entry No. 18). The court does not need to stay the case,

but will extend all deadlines to permit the plaintiff to amend her complaint following the exchange

of initial disclosures. The court will not decide the pending motion to dismiss until the plaintiff

has had the opportunity to file an amended complaint. The following schedule applies:

          the plaintiff’s amended complaint, (Docket Entry No. 12), is due April 8, 2022;

          the defendant’s answer or motion to dismiss the amended complaint is due April 29,

           2022; and

          the initial conference and oral argument on the motion to dismiss is reset for May 13,

           2022, at 10:50 a.m., by video. A link will be provided separately.

                       SIGNED on March 14, 2022, at Houston, Texas.


                                                           _______________________________
                                                                    Lee H. Rosenthal
                                                             Chief United States District Judge
